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In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS

**********************
ERIKA BOYER, as Personal                 *
Representative of the Estate of          *
RAYMOND HOWELL,                          *
                                         *   No. 16-1203V
                    Petitioner,          *   Special Master Christian J. Moran
                                         *
v.                                       *   Filed: September 26, 2019
                                         *
SECRETARY OF HEALTH                      *   Attorneys’ Fees and Costs
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Howard S. Gold, Gold Law Firm, LLC, Wellesley Hills, MA, for Petitioner;
Althea W. Davis, United States Dep’t of Justice, Washington, DC, for Respondent.

                   UNPUBLISHED DECISION AWARDING
                     ATTORNEYS’ FEES AND COSTS1

       On June 23, 2019, petitioner Erika Boyer moved for final attorneys’ fees and
costs. She is awarded $25,418.76.

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         The undersigned intends to post this Ruling on the United States Court of
Federal Claims' website. This means the ruling will be available to anyone with
access to the internet. In accordance with Vaccine Rule 18(b), petitioner has 14
days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the
undersigned will redact such material from public access. Because this unpublished
ruling contains a reasoned explanation for the action in this case, the undersigned
is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services).
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                                    *      *       *

       On September 26, 2016, Raymond Howell filed for compensation under the
Nation Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 through 34.
The petition was continued by Erika Boyer on Mr. Howell’s behalf after his
passing. The petition alleged that the influenza (“flu”) vaccine Mr. Howell
received on December 16, 2014, which is contained in the Vaccine Injury Table,
42 C.F.R. § 100.3(a), caused him to suffer Guillain-Barré syndrome. Petitioner
further alleged that Mr. Howell suffered the residual effects of this injury for more
than six months. Petitioner does not allege that the vaccine caused Mr. Howell’s
death on July 14, 2017. On December 13, 2018, the parties filed a stipulation,
which the undersigned adopted as his Decision awarding compensation on
December 18, 2018.
       On June 23, 2019, petitioner filed a motion for final attorneys’ fees and costs
(“Fees App.”). Petitioner requests attorneys’ fees of $19,487.50 and attorneys’
costs of $5,931.26 for a total request of $25,418.76. Fees App. at 2. Pursuant to
General Order No. 9, petitioner states that she has not personally incurred any costs
in pursuit of this litigation. Id. at 1. On July 5, 2019, respondent filed a response to
petitioner’s motion. Respondent argues that “[n]either the Vaccine Act nor Vaccine
Rule 13 contemplates any role for respondent in the resolution of a request by a
petitioner for an award of attorneys’ fees and costs.” Response at 1. Respondent
adds, however that he “is satisfied the statutory requirements for an award of
attorneys’ fees and costs are met in this case.” Id at 2. Additionally, he
recommends “that the special master exercise his discretion” when determining a
reasonable award for attorneys’ fees and costs. Id. at 3. Petitioner did not file a
reply thereafter.
                                    *      *       *

       Because petitioner received compensation, she is entitled to an award of
reasonable attorneys’ fees and costs. 42 U.S.C. § 300aa–15(e). Thus, the question
at bar is whether the requested amount is reasonable.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).

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Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.
       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.

        Petitioner requests the following rates for the work of her attorney, Mr.
Howard Gold: $360.00 per hour for work performed in 2015, $370.00 per hour for
work performed in 2016, $380.00 per hour for work performed in 2017, $390.00
per hour for work performed in 2018, and $400.00 per hour for work performed in
2019. Fees App. at 5-6. Petitioner also requests paralegal rates of $125.00 per hour
for all work performed. Id. These rates are consistent with what Mr. Gold has
previously been awarded for his Vaccine Program work and the undersigned finds
them to be reasonable here as well. See Ruppenthal v. Sec’y of Health & Human
Servs., No. 13-183V, 2019 WL 3933852, at *2 (Fed. Cl. Spec. Mstr. Jul. 29, 2019).

      B.     Reasonable Number of Hours
      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       Upon review of the submitted billing records, the undersigned finds the
billed hours to be reasonable. Accordingly, petitioner is entitled to the full amount
of attorney’s fees sought.
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              C.   Costs Incurred

       Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioner requests a total of
$5,931.26 in costs, comprised of acquiring medical records, the Court’s filing fee,
and estate work performed by Bingham legal group. Fees App. at 7. These costs
are typical of Vaccine Program litigation and petitioner has provided adequate
documentation to support them. Respondent has not identified any of the costs as
objectionable, and the undersigned finds them to be reasonable. Accordingly,
petitioner is entitled to a final award of costs in the amount of $5,931.26.

      E.      Conclusion
       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award a total of $25,418.76 (representing
$19,487.50 in attorneys’ fees and $5,931.26 in attorneys’ costs) as a lump sum in
the form of a check jointly payable to petitioner and Gold Law Firm, LLC.

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.2


              IT IS SO ORDERED.


                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




      2
        Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment
by filing a joint notice renouncing their right to seek review.

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